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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re:

M. BURTON MARSHALL,                                           Case No. 23-60263-PGR
a/k/a BURT MARSHALL,                                          Chapter 11
a/k/a MILES BURTON MARSHALL,

                                       Debtor.

                              NOTICE OF SALE TRANSACTION

       PLEASE TAKE NOTICE that, on April 20, 2023, the above-captioned debtor and debtor
in possession (the “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”).

       PLEASE TAKE FURTHER NOTICE that on September 21, 2023, the United States
Bankruptcy Court for the Northern District of New York (the “Court”) signed an Order approving
the appointment of Fred Stevens as Chapter 11 trustee (the “Trustee”) of the estate of M. Burton
Marshall a/k/a Burt Marshall a/k/a Miles Burton Marshall.

        PLEASE TAKE FURTHER NOTICE that on October 13, 2023, the Trustee, by and
through his counsel, filed a motion (the “Motion”) seeking entry of an order (the “Proposed Sale
Procedures Order”), authorizing, among other things, the Trustee to implement expedited
procedures to: (a) sell certain assets, including any rights or interests therein (collectively, the “De
Minimis Assets”) in any individual transaction or series of related transactions (each a “De
Minimis Asset Sale”) to a buyer with a sale price equal to or less than $25,000 as calculated within
the Trustee’s reasonable discretion, free and clear of all liens, claims, interests, and encumbrances
(collectively, the “Liens”), without the need for further Court approval and with Liens attaching
to the proceeds of such sale with the same validity, extent and priority as had attached to the De
Minimis Assets immediately prior to the sale.

       PLEASE TAKE FURTHER NOTICE that a hearing on the Motion is currently
scheduled for November 7, 2023 at 11:30 a.m. (EST) before the Court.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Proposed Sale Procedures
Order, the Trustee proposes to sell the De Minimis Assets set forth and described on Exhibit A
attached hereto (the “Sale Assets”). Exhibit A provides: (a) the identification of the Sale Assets
being sold; (b) the identification of the purchaser of the Sale Assets; (c) the identities of entities
known to the Trustee as holding Liens or other interests in the Sale Assets, if any; (d) the purchase
price and the material economic terms and conditions of the sale; (e) a copy of the sale agreement
evidencing the sale of the Sale Assets, if applicable; and (f) any commission fees, or similar
expenses to be paid in connection with such transaction.
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        PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Sale Procedures
Order, if the terms of a proposed sale or transfer are materially amended after transmittal of this
notice but prior to the applicable deadline of any party entitled to receive this notice pursuant to
the Proposed Sale Procedures Order (the “Sale Notice Parties”) to object to such sale, the Trustee
will send a revised Sale Notice (the “Amended Sale Notice”) to the Sale Notice Parties, after which
the Sale Notice Parties shall have an additional three (3) calendar days to object to such sale prior
to closing such sale or effectuating such transaction.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Sale Procedures
Order, any recipient of this notice may object to the proposed transaction within the greater of (i)
seven (7) calendar days of service of this notice, or (ii) three (3) calendar days of service of an
Amended Sale Notice, as applicable. Objections: (a) must be in writing; (b) must be received
within seven (7) calendar days of service of this notice; and (c) must be submitted by mail or
email to counsel to the Trustee: Klestadt Winters Jureller Southard & Stevens, LLP, 200 West
41st Street, 17th Floor, New York, New York 10036, Attn: Fred Stevens (fstevens@klestadt.com)
and Lauren C. Kiss (lkiss@klestadt.com). If you object, the Trustee may not sell the Sale Assets
unless you and the Trustee consensually resolve the objection or upon further Court order
approving the sale of such Sale Assets.

        PLEASE TAKE FURTHER NOTICE if the Motion is approved by the Court and there
are no objections to this Notice, then the Trustee intends to close on the Sale Assets immediately
after entry of the Proposed Sale Procedures Order.

 Dated: New York, New York
        October 26, 2023
                                                     KLESTADT WINTERS JURELLER
                                                     SOUTHARD & STEVENS, LLP


                                             By: /s/ Lauren C. Kiss
                                                 Fred Stevens
                                                 Lauren C. Kiss
                                                 200 West 41st Street, 17th Floor
                                                 New York, New York 10036
                                                 Tel: (212) 972-3000
                                                 Fax: (212) 972-2245
                                                 Email: fstevens@klestadt.com
                                                         lkiss@klestadt.com

                                                     General Counsel to Fred Stevens, the Chapter
                                                     11 Trustee of the estate of M. Burton
                                                     Marshall a/k/a Burt Marshall a/k/a Miles
                                                     Burton Marshall




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                                                   Exhibit A

    Identification of the Sale Assets being Sold:          All of the Seller’s 1 right, title and interest in
                                                           that certain printing business known as
                                                           “M&M Press” (the “Business”), including
                                                           the:
                                                                (A)    Customer List;
                                                                (B)    Good Will;
                                                                (C)    Telephone Numbers;
                                                                (D)    Inventory; and
                                                                (E)    Equipment.

    Identification of the purchaser of the Sale            The Ad Group Agency, Inc. (the “Buyer”),
    Assets:                                                having an address at 114 Cottage Street, Suite
                                                           206A, Oriskany Falls, New York 13425

    The identities of entities known to the                As part of the sale, the Seller shall assign that
    Trustee as holding Liens or other interests            certain lease of a Canon Copier 810, which is
    in the Sale Assets, if any:                            leased from Canon Financial Services, 14904
                                                           Collections Center Drive, Chicago, IL 60693-
                                                           0149.

    The purchase price and the material                    The Buyer shall pay to the Seller $20,000. In
    economic terms and conditions of the sale:             addition, Matthew B. Marshall, the Debtor’s
                                                           son who has managed the Business since in or
                                                           around 2015 has agreed, as part of the sale, to
                                                           release any and all claims that he has against
                                                           the Debtor’s bankruptcy estate.

    A copy of the sale agreement evidencing                A copy of the Asset Purchase Agreement of
    the sale of the Sale Assets, if applicable:            Sale, dated as of October 12, 2023 (the “Sale
                                                           Agreement”), by and between the Trustee, as
                                                           Seller, the Buyer, and Matthew B. Marshall is
                                                           attached hereto as Exhibit 1.

    Any commission fees, or similar expenses               None.
    to be paid in connection with such
    transaction:




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Sale
Agreement (defined herein).
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                           Exhibit 1 – Sale Agreement
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